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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


HY CITE CORPORATION,
                      Plaintiff,
       and
                                                                      Case No. lO-CV-168-wmc
UNITED STATES OF AMERICA,
                      Plaintiff-Intervenor,
       V.

REGAL WARE, INC.,
                      Defendant.


                                      PARTIAL JUDGMENT


       This action came for consideration before the court, District Judge William M. Conley
presiding. The Plaintiff-Intervenor and Defendant have now stipulated to entry of judgment as
between themselves, but not as to the case as a whole. Accordingly,
       IT IS ORDERED AND ADJUDGED that judgment is entered in favor of plaintiff-
intervenor the United States of America and against defendant Regal Ware, Inc. in the amount
of $150,000.00. The parties shall bear their own costs and attorneys' fees.


APPROVED AS TO FORM this           '3"J.   day of February, 2012,




Peter Oppeneer                                                 Date
Clerk of Court
